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                                                                      Page 1

  1      IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL CIRCUIT,
                      IN AND FOR LEE COUNTY, FLORIDA
  2                       CASE NO.: 18-CA-005454
  3
         ADP, LLC,
  4
                     Plaintiff,
  5
         vs.
  6
  7      DAVID SCHWARTZ,
  8               Defendant.
  9      _______________________________/
 10
 11
                 VIDEO-RECORDED DEPOSITION OF DAVID SCHWARTZ
 12                             VOLUME I OF II
 13                    (Conducted via videoconference)
 14
         DATE:                    Thursday, December 23, 2021
 15
         TIME:                    9:12 a.m. - 5:14 p.m.
 16
         PURSUANT TO:             Notice by counsel for
 17                               Defendant for purposes of
                                  discovery, use at trial or
 18                               such other purposes as are
                                  permitted under the Florida
 19                               Rules of Civil Procedure
 20      REPORTED BY:             Denise O'Hare, Court Reporter
                                  Notary Public, State of Florida
 21
 22
                                    Pages 1 - 193
 23
 24
 25

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                                                                      Page 2

  1      APPEARANCES:
  2
              JOSEPH PARRISH, ESQUIRE
  3           ROBERT GOODMAN, ESQUIRE
              Parrish & Goodman, PLLC
  4           13031 McGregor Boulevard
              Suite 19
  5           Fort Myers, Florida 33919
                   Counsel for Plaintiff
  6
  7           MARIO M. RUIZ, ESQUIRE
              CRAIG DISTEL, ESQUIRE
  8           McDonald Hopkins, LLC
              505 South Flagler Drive
  9           Suite 300
              West Palm Beach, Florida 33401
 10                Counsel for Defendant
 11
              Also Present:    Percy Campos, Videographer
 12                            Kevin Skelly, ADP
                               Elliot Server, ADP
 13
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                                                                        Page 242

  1      because you didn't have an iPad.                Is that your
  2      testimony?
  3                  MR. PARRISH:      Object to form.
  4           A.     I believe I have previously stated this about
  5      a hundred times.      I didn't have an iPad for two months.
  6      It was impossible to do my job.               My laptop, I couldn't
  7      connect to the VPN then when I'm out in the field.                 So
  8      I would have to go and I would have to upload the
  9      documents many times, whatever implementation needed,
 10      through Salesforce.
 11                  And you can't get your ADP emails on any other
 12      device besides your cell phone and your iPad or your
 13      ADP laptop which you had to be connected to ADP's
 14      network VPN.      And I wanted to upload that to
 15      Salesforce.
 16      BY MR. RUIZ:
 17           Q.     Let's go the next exhibit, please.            Exhibit 16
 18      I think we're up to.
 19                  Did you email ADP's --           this is Exhibit
 20      No. 16.       Did you email ADP's wholesale pricing, firm
 21      Pricing Agreement to your UBCG account from your
 22      ADP account?
 23                  (Exhibit 16 marked for identification.)
 24                   MR. PARRISH:     Object to form.
 25           A.     I don't recall, and I don't see a date showing

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                                                                        Page 184

  1      the document to yourself in the first place?
  2           A.     Sometimes it wouldn't work on my phone.
  3      Sometimes it wouldn't work on my iPad and/or laptop.
  4      So each time there was always something different.                     You
  5      can check out the case tickets.             And there was a long
  6      period of time when I went with an iPad, and that's
  7      where I did 90 percent of my work was on that iPad.
  8                  And then the VPNs never worked and the battery
  9      power to my laptop.       So it was very hard to complete my
 10      job for some time so I had to --
 11           Q.     If you had the document in your UBCG email
 12      account, you wouldn't be able to upload it into the ADP
 13      system from there; correct?
 14           A.     Yeah, you could.
 15           Q.     How?
 16           A.     I told you.   You go -- go to your desktop, go
 17      to Salesforce, log into Salesforce.                  You could do it
 18      from a normal desktop, your home computer.                  And you
 19      just go in and use your ADP email address and you can
 20      log into Salesforce.       I did that when I had issues like
 21      with my phone, computer, laptop, whatever it was, for
 22      me in 2018.
 23           Q.     Okay.   So let's move on.
 24                  Other than printing documents and then
 25      scanning them and everything you've described, what

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